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12
                             UNITED STATES DISTRICT COURT
13                          CENTRAL DISTRICT OF CALIFORNIA
14                                WESTERN DIVISION
      MELITON GARCIA,                            ) No. 2:24-cv-08469-MAA
15                                               )
                                                 )
16                                               ) JUDGMENT
            Plaintiff,                           )
17                                               )
                   v.                            )
18                                               )
      MICHELLE KING, Acting                      )
19    Commissioner of Social Security,1          )
                                                 )
20                                               )
            Defendant.                           )
21                                               )
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26    1
        Michelle King became the Acting Commissioner of Social Security on January 20,
27    2025. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Michelle King
      should be substituted for Carolyn Colvin as the defendant in this suit. No further action
28    need be taken to continue this suit by reason of the last sentence of section 205(g) of
      the Social Security Act, 42 U.S.C. § 405(g).


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1           Having approved the parties’ Stipulation to Remand Pursuant to Sentence Four
2     of 42 U.S.C. § 405(g) and to Entry of Judgment,, THE COURT ADJUDGES AND
3     DECREES that judgment is entered for Plaintiff.
                                               ntifff.
4
5
      DATED:            01/30/2025
6                                            HON. M
                                                  MARIA
                                                    ARIA A. AUDERO
7                                            UNITED
                                                 ED
                                                  DS STATES  MAGISTRATE JUDGE
                                                      TATES MAGISTRA

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